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  10
  11
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
  12
  13    KRISTOPHER GORDON,                         Case No. 17-CV-1678
  14
                Plaintiff,                         VERIFIED SHAREHOLDER
  15                                               DERIVATIVE COMPLAINT
  16
        v.
                                                   Jury Trial Demanded
  17    ROBERT D. SZNEWAJS; HALLE J.
  18    BENETT; JONAH SCHNEL; and
        JEFFREY KARISH,
  19
  20            Defendants,
  21    -and-
  22
        BANC OF CALIFORNIA, INC.
  23
  24            Nominal Defendant.
  25
  26
  27
  28
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   1         Plaintiff Kristopher Gordon (“Plaintiff”) brings this shareholder derivative
   2   action on behalf of nominal defendant Banc of California, Inc. (“Banc” or the
   3   “Company”). The allegations in this Complaint are based upon personal
   4   knowledge as to Plaintiff and on information and belief as to all other matters.
   5   Plaintiff’s information and belief is based upon the investigation conducted by and
   6   under the supervision of counsel which included, among other things, review and
   7   analysis of the following: (a) the Company’s public filings with the Securities and
   8   Exchange Commission (“SEC”); (b) other publicly available information,
   9   including articles in the news media and analyst reports; (c) information on the
  10   Company’s website and press releases; (d) complaints and related materials in
  11   litigation commenced against some or all of the Individual Defendants and/or the
  12   Company, including, without limitation, In re Banc of California Securities
  13   Litigation, Docket No. 8:17-cv-00188-AJG (C.D. Cal. Jan. 23, 2017) and Seabold
  14   v. Banc of California, Case No. BC-674694 (Cal. Los Angeles Super. Ct.
  15   September 5, 2017); and (e) applicable rules and regulations.
  16                              NATURE OF THE ACTION
  17         1.     This action comes on the heels of a tumultuous 11-month period at
  18   Banc following the publication of an October 18, 2016 blog post on SeekingAlpha
  19   alleging the existence of a web of improper and dangerous relationships between
  20   Jason Galanis (“Galanis”), a Los Angeles financier and convicted securities
  21   fraudster, and Banc’s senior managers, including Steven Sugarman (“Sugarman”),
  22   then Banc’s Chief Executive Officer (“CEO”), and Chad Brownstein
  23   (“Brownstein”), then Banc’s Lead Independent Director.
  24         2.     On the day of the blog post, Banc immediately sought to quell the
  25   crisis in a press release, stating that it had been aware of the Galanis allegations for
  26   some time, but that Banc’s Board, acting through “disinterested directors,” had
  27   already conducted an “independent” investigation of the matter “led by Winston
  28   & Strawn,” a law firm. Banc’s press release went on to discredit the allegations in
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   1   the SeekingAlpha blog post and denied the existence of ties between Galanis and
   2   Banc. On October 19, 2016, these denials were repeated and reinforced by Banc’s
   3   General Counsel in an investor conference call.
   4         3.     On or about October 27, 2016, Banc’s Board created a Special
   5   Committee to investigate the alleged improper relationships and transactions. On
   6   January 23, 2017, Banc reported the Special Committee’s conclusion that the
   7   Galanis allegations were false, but also disclosed that its October 18, 2016 response
   8   to the SeekingAlpha blog post had triggered an SEC investigation.
   9         4.     Banc admitted that the October 18, 2016 press release had misled
  10   shareholders about the earlier “independent” investigation. Specifically, Banc
  11   admitted that the earlier investigation was not directed by “disinterested” board
  12   members at all, but by “management,” and that Winston & Strawn was not
  13   independent, having previously represented Banc and Sugarman personally.
  14         5.     Although the Galanis allegations were allegedly discredited,
  15   Sugarman and Brownstein were nevertheless promptly forced out of the Company.
  16   With their departure, members of the Special Committee were able to secure
  17   control of Banc, and in doing so, divert attention away from their own misconduct.
  18         6.     In a recently filed wrongful termination lawsuit against Banc, former
  19   top Banc officer Jeffrey T. Seabold (“Seabold”) alleges that the Special Committee
  20   members charged with independently investigating the claims of related party
  21   transactions and self-dealing had not done so in good faith, but rather had
  22   “scapegoated” Sugarman, Brownstein, and others as part of a “power grab” to
  23   conceal their own improper relationships and transactions.
  24         7.     Seabold has further alleged that, since Sugarman’s departure, Banc’s
  25   new executive management team, with approval of the Company’s Audit
  26   Committee, has manipulated earnings per share (EPS) to maintain the appearance
  27   of Banc’s financial success. Seabold claims that Banc’s current leadership
  28   eliminated transparency from financial reporting and budgeting so they could
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   1   improperly reverse accrued liabilities for employee bonuses earned in 2016,
   2   improperly boosting reported financial results.
   3         8.     As alleged herein, certain of Banc’s current directors have breached
   4   their fiduciary duties to the Company. First, these directors authorized, endorsed,
   5   and/or failed to immediately correct the Company’s false October 18, 2016 press
   6   release issued in their name, directly resulting in an SEC investigation. Second, as
   7   alleged by Seabold, the Special Committee was composed of conflicted directors
   8   motivated to take control of the Company, whose conduct has not only entrenched
   9   the wrongdoers, but further jeopardized the Company’s operations. Third, as
  10   alleged by Seabold, Banc has engaged in accounting gimmicks with the knowledge
  11   of the Chairman of the Board’s Audit Committee, designed to inflate results for
  12   the first quarter of 2017.
  13         9.     These developments have severely damaged the Company. Plaintiff
  14   now brings this suit derivatively on Banc’s behalf to remedy the misconduct and
  15   seek redress for breaches of their fiduciary duties of loyalty, good faith, and due
  16   care. A demand to bring the asserted claims is excused for futility, as (a) the
  17   Company faces the prospect of irreparable harm absent shareholder action and (b)
  18   a majority of the current Board lacks independence and/or is hopelessly conflicted
  19   and interested in the subject matter of the case.
  20                            JURISDICTION AND VENUE
  21         10.    Banc is a corporation that conducts business and maintains its
  22   executive headquarters in this District. The Individual Defendants have sufficient
  23   minimum contacts with this District so as to render the exercise of jurisdiction by
  24   this Court permissible under traditional notions of fair play and substantial justice.
  25         11.    Jurisdiction of this action is based on 28 U.S.C. § 1332(a)(2), there
  26   being diversity of citizenship between Plaintiff and Defendants because Plaintiff,
  27   on the one hand, and the Defendants, on the other, are citizens of different states.
  28   The amount in controversy exceeds $75,000, exclusive of interest and costs.
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   1         12.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(c) and (d).
   2   Further, a substantial portion of the acts and transactions giving rise to the
   3   violations of law complained of herein occurred in this District.
   4                                    THE PARTIES
   5         13.    Plaintiff Kristopher Gordon has held shares of Banc stock
   6   continuously since September 2016 and is a current Banc shareholder. Plaintiff is
   7   a citizen of Georgia.
   8         14.    Nominal defendant Banc is a Maryland corporation with its principal
   9   executive offices located at 3 MacArthur Place, Santa Ana, California 92707. Banc
  10   common stock trades on the New York Stock Exchange (“NYSE”) under the ticker
  11   symbol “BANC.” Banc is a citizen of California.
  12         15.    Defendant Robert D. Sznewajs (“Sznewajs”) was appointed as Chair
  13   of the Board of Directors in January 2017 after having served on the Board of the
  14   Company since 2013. Defendant Sznewajs serves as a Board designated “financial
  15   expert” and is a member of Banc’s Audit Committee and Compensation and
  16   Human Capital Committee (the “Compensation Committee”). Sznewajs is a
  17   citizen of California.
  18         16.    Defendant Halle J. Benett (“Benett”) has been a director of the
  19   Company since December 2013. Defendant Benett serves on Banc’s Audit
  20   Committee and Nominating and Corporate Governance Committee. Benett is a
  21   citizen of California.
  22         17.    Defendant Jonah F. Schnel (“Schnel”) has been a director of the
  23   Company since 2013. Defendant Schnel is a member of the Nominating and
  24   Governance Committee. Schnel is a citizen of California.
  25         18.    Defendant Jeffrey Karish (“Karish”) has been a director of the
  26   Company since 2011. Defendant Karish serves on Banc’s Audit Committee and
  27   the Compensation Committee. Karish is a citizen of California.
  28
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   1         19.    Defendants Sznewajs, Benett, Schnel, and Karish are sometimes
   2   collectively referred to herein as the “Individual Defendants.”
   3                                FIDUCIARY DUTIES
   4         Duties of the Individual Defendants
   5         20.    By reason of their positions as officers, directors, and/or fiduciaries
   6   of Banc and because of their ability to control the business and corporate affairs of
   7   Banc, the Individual Defendants owed and owe Banc and its shareholders fiduciary
   8   obligations of trust, loyalty, good faith, and due care, and were and are required to
   9   use their utmost ability to control and manage Banc in a fair, just, honest, and
  10   equitable manner. The Individual Defendants were and are required to act in
  11   furtherance of the best interests of Banc and its shareholders so as to benefit all
  12   shareholders equally and not in furtherance of their personal interest or benefit.
  13         21.    To discharge their duties, the officers and directors of Banc were
  14   required to exercise reasonable and prudent supervision over the management,
  15   policies, practices, and controls of the financial affairs of the Company. By virtue
  16   of such duties, the officers and directors of Banc were required to, among other
  17   things: ensure the Company complied with its legal obligations and requirements,
  18   including complying with regulatory requirements by devising and implementing
  19   a system of internal controls sufficient to ensure the accuracy of Banc’s financial
  20   statements and reporting; conduct the affairs of the Company in an efficient,
  21   business-like manner so as to make it possible to provide the highest quality
  22   performance of its business, to avoid wasting the Company’s assets, and to
  23   maximize the value of the Company’s stock; remain informed as to how Banc
  24   conducted its operations, and upon receipt of notice or information of imprudent
  25   or unsound conditions or practices, make reasonable inquiry in connection
  26   therewith, and take steps to correct such conditions or practices as necessary to
  27   comply with applicable laws; and ensure the Company was operated in a diligent,
  28   honest, and prudent manner in compliance with all applicable laws.
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   1         22.    The Individual Defendants, because of their positions of control and
   2   authority as directors and/or officers of Banc, were able to, and did, directly and/or
   3   indirectly, exercise control over the wrongful acts complained of herein.
   4         23.    At all times relevant hereto, each of the Individual Defendants was
   5   the agent of each of the other Individual Defendants and of Banc, and was at all
   6   times acting within the course and scope of such agency.
   7         Duties of the Audit Committee
   8         24.    The Audit Committee is comprised of Defendants Benett, Karish, and
   9   Sznewajs, and non-party Richard Lashley (“Lashley”). Lashley is the Audit
  10   Committee’s Chairperson.
  11         25.    The Audit Committee is responsible for, among other things,
  12   monitoring and oversight of: the integrity of the Company’s financial statements
  13   and financial accounting practices; the accounting and financial reporting
  14   processes of the Company and the audits of the financial statements of the
  15   Company; the effectiveness of the Company’s internal controls over financial
  16   reporting; and the Company’s compliance with legal and regulatory requirements.
  17         26.    According to its Charter, the Audit Committee is to be comprised of
  18   at least three members appointed by the Board who meet the independence and
  19   other requirements of the NYSE.
  20         27.    The members of the Audit Committee, including its Chairperson, are
  21   appointed by the Board on recommendation of the Nominating and Governance
  22   Committee.
  23         Duties of the Nominating and Governance Committee
  24         28.    The Company’s Nominating and Governance Committee is
  25   comprised of Defendants Benett and Schnel and non-parties Lashley and Bonnie
  26   Hill (“Hill”).   Defendant Benett is the Chairperson of the Nominating and
  27   Governance Committee.
  28
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   1         29.    The Nominating and Governance Committee is appointed by the
   2   Board to assist the Board in discharging its responsibilities, including identifying
   3   individuals qualified to become Board members, consistent with criteria approved
   4   by the Board, to recommend to the Board director nominees, lead the Board in its
   5   annual review of the Board's performance, and recommend to the Board the
   6   membership of each Board Committee.
   7         30.    The Nominating and Governance Committee is to be comprised of at
   8   least two directors who meet the independence requirements of the NYSE.
   9         31.    The Nominating and Governance Committee’s responsibilities
  10   include the following: to retain and terminate any search firm to be used to identify
  11   director candidates and to have sole authority to approve the search firm’s fees and
  12   other retention terms; actively seek individuals qualified to become Board
  13   members for recommendation to the Board for appointment or nomination for
  14   election as directors; identifying, screening, and recommending to the Board
  15   candidates for membership on the Board; annually assess the independence of the
  16   Board members; and have the authority to review, oversee, and approve, or
  17   recommend to the Board for approval, any insider or related party transactions.
  18         32.    The Nominating and Governance Committee also is charged with
  19   considering issues involving possible conflicts of interest involving directors and
  20   executive officers and review the appropriateness of the continued service on the
  21   Board of any non-employee director who has changed his or her employment or
  22   occupation, in light of his or her changed responsibilities, association, or
  23   circumstances, and recommend, as appropriate, action by the Board to accept or
  24   reject any offered resignation of such director; and assist the Board with succession
  25   planning for the position of CEO and senior management.
  26
  27
  28
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   1                         SUBSTANTIVE ALLEGATIONS
   2         A.    Background.
   3         33.   In 2010, Banc’s predecessor entity, First PacTrust, was floundering
   4   in the post-recession economy. COR Capital LLC (“COR”) stepped forward and
   5   helped contribute $60 million to revitalize the bank. COR was owned and managed
   6   by Sugarman, who joined First PacTrust’s Board of Directors. On September 21,
   7   2012, Sugarman became First PacTrust’s CEO.
   8         34.   In May 2013, Seabold became an employee of First PacTrust. Seabold
   9   previously assisted Sugarman in raising the $60 million capital infusion in
  10   November 2010. Seabold’s employment began when Banc acquired CS Financial,
  11   Inc. (“CS”), a mortgage lender Seabold founded.
  12         35.   In July 2013, First PacTrust renamed itself Banc of California and
  13   promoted itself as a “community investment leader.” Banc has experienced
  14   phenomenal growth since 2010 as its assets have grown to more than $10 billion.
  15         36.   As of April 15, 2016, the Banc’s Board consisted of seven (7)
  16   directors: Defendants Schnel, Benett, Sznewajs, and Karish, along with non-parties
  17   Sugarman, Brownstein, and Eric Holoman (“Holoman”).
  18         37.   Banc’s 2016 Proxy Statement included a statement that the
  19   Company’s Nomination and Corporate Governance Committee had conducted its
  20   annual review of “all relationships between the Company and each Director and
  21   Nominee and has affirmatively determined that, with the exception of Mr.
  22   Sugarman, who is a Company employee, each non-employee director . . . has only
  23   immaterial relationships with the Company, and accordingly each has been
  24   determined to be independent under these standards.”
  25         38.   According to the Proxy Statement, the Board also concluded that all
  26   members of the Audit Committee and Nominating and Corporate Governance
  27   Committee were independent, as that term is defined by the NYSE standards and
  28   the Company’s Corporate Governance Guidelines.
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     1         39.    In the “Transactions With Related Persons” section of the Proxy
     2   Statement, the Company listed a number of related party transactions, but the only
     3   ones relating to a director involved non-party Sugarman. Sugarman disclosed
     4   several relationships, including with St. Cloud Capital LLC, Palisades Group, LLC
     5   (which had used Sugarman’s brother as a consultant), and CS (which was
     6   previously controlled by non-party Seabold).
     7         B.     The Galanis Allegations.
     8         40.    On October 18, 2016, SeekingAlpha.com published an article entitled
     9   “BANC: Extensive Ties To Notorious Fraudster Jason Galanis Make Shares Un-
    10   Investable.” The article claimed that Banc directors Sugarman and Brownstein,
    11   along with Seabold, had ties to Galanis. Galanis was a convicted felon with a
    12   reputation for looting public companies.
    13         41.    The article claimed that (a) COR, which Banc acknowledged in its
    14   SEC filings was controlled by Sugarman, was actually controlled by Galanis; (b)
    15   Prospect Global, which was affiliated with Brownstein, was funneled money from
    16   one of Galanis’s frauds; and (c) Camden Capital, which was affiliated with
    17   Seabold, was used to fund another one Galanis’s frauds.
    18         42.    Banc shares fell $4.61 per share, or 29 percent, the day this news was
    19   reported by SeekingAlpha.com. In response to these allegations, Banc issued a
    20   press release the same day stating:
    21
                         Banc of California, Inc. today announced it is aware
    22                   of allegations posted in a financial blog. The
    23                   Company’s Board of Directors has been aware of
                         matters relating to Jason Galanis including certain
    24                   claims he had made suggesting an affiliation with
    25                   members of the Company, its Board, and/or its
                         Executive team. The Board, acting through its
    26                   Disinterested Directors, immediately initiated a
    27                   thorough independent investigation led by Winston &
                         Strawn, and has received regular reports including
    28
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     1                   related  to    regulatory     and         governmental
                         communications over the past year.
     2
     3         43.    On October 19, 2016, the Company filed a Form 8-K with the SEC,
     4   which attached a copy of the October 18 press release. On an analyst conference
     5   call held that same day, Banc’s General Counsel, non-party John Grosvenor
     6   (“Grosvenor”), reaffirmed the statements contained in the Company’s press release
     7   denying any connection with Galanis. Specifically, Grosvenor provided the
     8   following description of the Board’s role in the prior investigation:
     9
    10                As discussed in our press release yesterday, management
                      first advised the Board of Directors in 2015 regarding the
    11                facts then known pertaining to the circumstances
    12                associated with Jason Galanis’s indictment, including
                      certain claims attributed to Galanis that he was affiliated
    13                in some manner with the Company or members of the
    14                Company’s Board of Directors or management.
    15
                      In response, the Board of Directors determined to retain
    16                outside counsel to independently investigate the matters
                      raised and report any information that might indicate the
    17
                      possible existence of any potential impropriety. The
    18                results of that investigation, which has continued over the
    19
                      course of more than a year, failed to disclose any
                      ownership interest by Galanis in the Company or the
    20                bank, and affirmatively confirmed that he exercised no
    21                direct or indirect control over the Company or the bank or
                      any entity owned or affiliated with Steven Sugarman or
    22                any other member of the Board of Directors.
    23
                      The investigation also failed to disclose any past or
    24                present lending relationship between Galanis and the
    25                bank. In fact, the inquiry disclosed instances in which
                      attempts by Galanis to establish a business relationship
    26                with the Company, presumably in furtherance of the
    27                fraudulent schemes for which he subsequently pled
                      guilty, were unsuccessful.
    28
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     1
                     In that regard, the Company shared information
     2               developed in the course of its own investigation in
     3               cooperation with the government’s prosecution of
                     Galanis and others. That cooperation is evidenced by,
     4               among other matters, Paragraphs 40 and 41 contained in
     5               the affidavit submitted by the FBI’s special agent in
                     charge of the government’s investigation as recited in the
     6               letter of Company counsel. As has been made clear, at
     7               least by reputable news organizations, none of the
                     Company or the bank or any member of the Board of
     8
                     Directors or management has been the subject of the
     9               government’s prosecution of Galanis.
    10
                     Finally, in response to the allegations contained in the
    11               Seeking Alpha post and at the direction of the
    12
                     disinterested members of the Board, Company counsel
                     has made written demand, a copy of which is included in
    13               our filing this morning, for the immediate removal and a
    14               written retraction of the article. In addition, the Company
                     has been advised by its counsel that the demonstrably
    15               egregious nature of the defamatory statements constitutes
    16               actionable libel per se, and the Company intends to
                     vigorously pursue all of its legal remedies.
    17
    18               As a result, on the advice of counsel and in order to
                     preserve our rights, we are not going to discuss any
    19               further specifics about Galanis during today’s call while
    20               our formal demands for removal and a retraction of the
                     article are pending. We will provide periodic public
    21
                     updates and further information as additional
    22               developments occur.
    23
    24         44.   On October 27, 2016, Banc’s independent auditor KPMG sent
    25   Defendant Sznewajs a letter “raising concerns about allegations of ‘inappropriate
    26   relationships with third parties’ and ‘potentially undisclosed related party
    27   relationships.’” That same day, the Company formed a Special Committee of
    28   purportedly independent directors to further investigate the allegations raised in
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     1   the SeekingAlpha report. The Special Committee consisted of Defendants Schnel,
     2   Karish, Benett, and Sznewajs, along with non-party Holoman.
     3         45.    On November 10, 2016, the Company filed a notice with the SEC
     4   stating:
     5
                      [The Company] is delaying the filing of its Quarterly
     6                Report on Form 10-K for the fiscal quarter ended
     7                September 30, 2016 . . . at this time to allow for
                      completion of a review into certain purported improper
     8                relationships and related party transactions and related
     9                matters. The review includes an investigation by
                      independent legal counsel having no prior relationship
    10                with the Company or its officers and directors under the
    11                direction of a Special Committee of Independent
                      Directors, which was established by the Board of
    12
                      Directors on October 27, 2016.
    13
    14         46.    On January 23, 2017, Banc issued a press release disclosing that the
    15   Company’s October 18, 2016 press release denying the Galanis allegations had
    16   contained false statements, and that the SEC had commenced an investigation into
    17   those statements. In relevant part, the press release stated:
    18
                         On October 18, 2016, an anonymous blog post raised
    19
                         questions about related party transactions and other
    20                   issues with respect to the Company. As previously
    21
                         disclosed, in response to these allegations, the Board
                         formed a Special Committee which commenced a
    22                   process to review the allegations. Shortly thereafter,
    23                   on October 27, 2016, the Company’s independent
                         auditor, KPMG, sent a letter to Mr. Sznewajs in his
    24                   capacity as Chair of the Company’s Joint Audit
    25                   Committee (the “KPMG Letter”) raising concerns
                         about allegations of “inappropriate relationships with
    26                   third parties” and “potential undisclosed related party
    27                   relationships.”
    28
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     1                  On October 30, 2016, the Special Committee retained
                        WilmerHale, a law firm with no prior relationship with
     2                  the Company, to conduct an independent investigation
     3                  to address certain issues raised by the blog post, as
                        well as questions raised by the KPMG Letter. In
     4                  accordance with the KPMG Letter, WilmerHale will
     5                  make a final report to the Special Committee and
                        KPMG on the results of its investigation. The Special
     6                  Committee expects that this final report will take place
     7                  within weeks.
     8
                        While certain work remains to be completed, to date
     9                  WilmerHale’s inquiry has not found any violation of
                        law. In addition, contrary to the claims in the blog
    10
                        post, the inquiry has not found evidence that Jason
    11                  Galanis has any direct or indirect control or undue
    12
                        influence over the Company. Furthermore, the inquiry
                        has not found evidence establishing that any loan,
    13                  related party transaction, or any other circumstance
    14                  has impaired the independence of any director.

    15                  Through the inquiry, however, the Special Committee
    16                  has determined that a press release issued on October
                        18, 2016 contained inaccurate statements. In that press
    17                  release, the Company stated that the “Board of
    18                  Directors, acting through its Disinterested Directors”
                        had, as of October 18, 2016, investigated issues raised
    19                  in the blog post. This press release was inaccurate in
    20                  certain respects. The review established that although
                        an investigation had been conducted, it was not
    21
                        initiated by the Board of Directors; rather, it appears
    22                  to have been directed by Company management rather
                        than any subset of independent directors. In addition,
    23
                        the press release characterized the investigation as
    24                  “independent” without disclosing that the law firm
    25
                        conducting the investigation had previously
                        represented both the Company and the Company’s
    26                  CEO individually. Furthermore, the press release
    27                  stated that the Board or a group of “Disinterested
                        Directors” had received “regular reports including
    28                  related     to    regulatory     and     governmental
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     1                   communications.” This overstated both the degree to
                         which the Company had been in contact with
     2                   regulatory agencies about the subject matter
     3                   referenced in the blog post, as well as the involvement
                         of the directors in oversight or direction of the inquiry.
     4
     5                   Related to this matter, on January 12, 2017, the
                         Securities and Exchange Commission (“SEC”) issued
     6                   a formal order of investigation directed at certain of
     7                   the issues that the Special Committee is reviewing.
                         Also on January 12, 2017, the SEC issued a subpoena
     8
                         seeking certain documents from the Company,
     9                   primarily relating to the October 18, 2016 press
                         release and associated public statements. The
    10
                         Company intends to fully cooperate with the SEC; in
    11                   addition, the Special Committee will share the results
    12
                         of its review with the SEC staff.

    13         47.    In a separate press release issued the same day, Banc announced
    14   Sugarman’s resignation from all positions with the Company. He was replaced as
    15   Chairman by Defendant Sznewajs, and the Company announced a convoluted
    16   interim executive structure, as follows:
    17
    18                The Office of the CEO/President will be composed
                      of Hugh Boyle, Chief Risk Officer, who will additionally
    19                assume the title of Interim Chief Executive Officer, and J.
    20                Francisco A. Turner, Chief Strategy Officer and Principal
                      Financial Officer. Mr. Turner will partner with Mr. Boyle
    21                and assume the title of Interim Chief Financial Officer
    22                and President.
    23         48.    On this news, Banc’s shares fell $1.50, or nearly 10 percent.
    24         49.    With Sugarman’s exit and the appointment of a new slate of senior
    25   executives, Defendants Schnel, Sznewajs, Benett, and Karish were now effectively
    26   in control of the Company. Sugarman had led Banc’s turnaround since 2010, but
    27   within months, many of the remaining personnel who had worked with him to build
    28   the Company’s operations would depart.
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     1         50.    On February 7, 2017, the Company announced that Brownstein was
     2   retiring as a director of Banc, leaving just the Individual Defendants and Holoman
     3   on the Board. On the same day, Banc separately announced that Defendant Benett,
     4   who previously decided not to stand for reelection to the Board, had “reconsidered
     5   this decision, and wishes to stand for re-election.”
     6         51.    On February 9, 2017, the Company issued a press release announcing
     7   that “WilmerHale has made a final report to the Special Committee . . . and has
     8   confirmed its earlier conclusion that the inquiry has not found any violation of
     9   law.” The investigation concluded that Galanis had no indirect or direct control or
    10   undue influence over the Company and that no loans or related party transactions
    11   had impaired the independence of any director.
    12         52.    On or around March 13, 2017, Seabold was involuntarily placed on
    13   indefinite Administrative Leave. On April 4, 2017, Banc announced non-party
    14   Holoman had declined to stand for reelection and would depart the Board effective
    15   at the end of the Company’s upcoming annual meeting on June 9, 2017.
    16         C.     Seabold’s Wrongful Termination Lawsuit.
    17         53.    On September 5, 2017, Seabold, Banc’s former Executive Vice
    18   Chairman, sued Banc in Los Angeles Superior Court, Case No. BC 674694, for
    19   wrongful discharge in violation of public policy and breach of contract, among
    20   other things. Seabold accuses Banc of wrongful termination and alleges a scheme
    21   executed by the Individual Defendants to avoid the consequences of their own
    22   misconduct and conflicts of interest, entrench themselves and their cronies on
    23   Banc’s Board, and eliminate anyone standing in their way.
    24         54.    Seabold alleges that Benett, Karish, Sznewajs, and Schnel, each with
    25   Banc since at least 2013, took advantage of the Galanis allegations to force out
    26   Banc’s founders, whistleblowers, and any others who attempted to ensure Banc
    27   complied with its disclosure and financial reporting obligations. According to
    28   Seabold, the Individual Defendants each suffered from actual, undisclosed
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     1   conflicts of interest, but were able to misuse the Special Committee to divert
     2   attention away from their own misconduct and secure control of Banc.
     3         55.    According to Seabold, the Individual Defendants, along with the
     4   newly installed management, even went so far as to manipulate financial results
     5   for the first quarter of 2017.
     6         56.    Seabold alleges that as Sugarman, Brownstein, and Seabold became
     7   the targets of the Special Committee’s investigation, Sugarman expressed his
     8   concerns to Defendant Schnel that Defendant Benett had himself been violating
     9   the Banc’s corporate opportunities and conflict of interest policies, and suffered
    10   from his own undisclosed conflicts of interest. According to Seabold, Defendant
    11   Benett’s conflicts extended back to 2014, when he was employed by KBW, Inc.,
    12   an investment banking firm, which did work with Banc and its competitors, a
    13   relationship which should have been disclosed.
    14         57.    Seabold alleges that the Nominating and Governance Committee, of
    15   which Schnel was a member, failed to take any action against Benett because,
    16   according to Seabold, Karish was involved in similar related party transactions.
    17   According to Seabold, Defendant Benett had agreed not to stand for reelection to
    18   Banc’s Board in an attempt to allay Sugarman’s concerns about Benett’s conflicts
    19   of interest, but that in reality had never intended to do so.
    20         58.    Seabold alleges that Defendant Karish also suffered from undisclosed
    21   conflicts of interest. According to Seabold, Defendant Karish was employed by
    22   Heritage Group, a large investor in a separate business owned by Brownstein.
    23         59.    Seabold also alleges that Karish served on the board of another public
    24   company previously accused on SeekingAlpha of fraudulent business practices,
    25   something Karish never revealed to the Board. Seabold alleges that following the
    26   Galanis post, tipsters contacted Banc to alert the Board that Karish had been
    27   accused of breaching his fiduciary duties in a prior case and had used the
    28   “investigation” of those allegations to entrench himself. Seabold further alleges
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     1   that Banc employees responsible for compliance insisted that Karish be reviewed
     2   for conflicts of interest, but that Karish had refused. Seabold claims that those Banc
     3   employees who insisted on the review no longer work for Banc.
     4         60.    Seabold also claims that Defendant Sznewajs was likewise involved
     5   in undisclosed self-dealing. According to Seabold, Defendant Sznewajs never
     6   disclosed that he, as Chairman of the Audit Committee, had approved hiring his
     7   son’s firm to underwrite an offering by Banc.
     8         61.    Seabold’s complaint provides detailed allegations about how the
     9   members of the Special Committee advanced their own personal interests by
    10   targeting longtime Banc employees and Board members for removal. Despite
    11   never uncovering evidence of any improper relationships between Banc and
    12   Galanis, Defendants Benett, Karish, Sznewajs, and Schnel successfully
    13   manipulated the Special Committee to achieve their goal of removing Sugarman
    14   and others from the Company and assuming control.
    15         62.    Seabold also alleges that as part of the scheme, Banc’s management,
    16   with apparent approval of the Audit Committee, artificially inflated Banc’s first
    17   quarter 2017 financial results. According to Seabold, shortly after the Individual
    18   Defendants’ “power grab,” it became apparent as early as January 2017 that Banc
    19   would fall short of consensus operating results for the first quarter 2017.
    20         63.    During this period, Seabold alleges firsthand communication with
    21   Banc’s Interim CEO who stated that the Company was going to miss consensus
    22   earnings estimates and needed to generate revenue to cover the shortfall. Seabold
    23   alleges that shortfall was either known to the Audit Committee or recklessly
    24   disregarded by it. Yet the Company continued to provide the market with public
    25   guidance that Banc would achieve $2.00 earnings per share (EPS) for the year.
    26         64.    Seabold alleges that Banc’s new leadership refused to cut guidance
    27   and risk exposing their unlawful acts and self-dealing. Instead, they chose to
    28
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     1   manufacture earnings by causing Banc to improperly reverse bonus accruals to
     2   appear more profitable.
     3         65.    To implement this plan, Banc’s new leadership eliminated the
     4   standard transparency from the financial reporting and budgeting processes and
     5   even turned off the SOX compliance reports that went out to management. They
     6   then initiated a so-called “reassessment” for accruals for 2016 bonuses. This
     7   resulted in reversing $7.8 million in accruals, which were then credited toward
     8   liabilities accrued in the first quarter 2017. There was no legitimate reason to
     9   reverse these accruals. It also resulted in earned, guaranteed performance-based
    10   bonuses not being paid to Seabold and others, despite Banc’s obligation to do so.
    11         66.    It is basic accounting that revenues generated in one fiscal year cannot
    12   be carried over to another. Those bonus accruals were recognized in 2016, and to
    13   “reassess” them for purposes of first quarter 2017 earnings was improper and
    14   painted a misleading picture of Banc’s continued operating EPS for that period.
    15         67.    Seabold also alleges that there are presently significant material
    16   weaknesses in Banc’s internal controls. Banc’s most recent Form 10-K
    17   acknowledged that its independent auditor, KPMG, reported a material weakness
    18   in Banc’s internal controls over financial reporting. Defendant Sznewajs, who
    19   served as Chairperson of the Audit Committee overseeing Banc’s faulty financial
    20   reporting, is now Chairperson of the Board despite failing to correct the material
    21   weaknesses identified by KPMG.
    22         68.    Finally, Seabold alleges that the Individual Defendants sought to
    23   blame Banc’s departed executives for the material weakness in Banc’s internal
    24   controls over financial reporting. Seabold alleges that Banc sought to blame him
    25   and others by stating in the same Form 10-K that the Company had been suffering
    26   from a “tone at the top” that did not prioritize “internal control over financial
    27   reporting.” Seabold alleges that the three individuals in fact most responsible for
    28   the material weakness identified by KPMG (Hugh Boyle, Defendant Sznewajs,
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     1   and Francisco Turner) not only were not disciplined but were promoted to top
     2   positions at Banc.
     3                          DAMAGES TO THE COMPANY
     4         69.    Banc has suffered, and continues to suffer, from the Individual
     5   Defendants’ wrongdoing described herein.
     6         70.    As a result of the Individual Defendants’ improprieties, Banc
     7   disseminated the October 18, 2016 press release falsely describing the Company’s
     8   process regarding the Galanis investigation. This false statement, which was made
     9   by the Individual Defendants, or made in their name, and which they failed to
    10   timely retract or correct, directly caused the SEC investigation, a highly damaging
    11   event for a public company like Banc.
    12         71.    Furthermore, the Special Committee’s investigation into the
    13   allegations of improper relationships and related party transactions was structurally
    14   flawed, as it was conducted by a set of conflicted directors, and failed to provide
    15   Banc and its shareholders with an independent review of the matters at issue. To
    16   the contrary, the Special Committee’s investigation served to entrench directors
    17   with their own undisclosed conflicts of interest and damaging the franchise, as
    18   alleged herein.
    19         72.    The Individual Defendants’ improper statements, and the Special
    20   Committee’s flawed response to the allegations of impropriety, have devastated
    21   Banc’s credibility, as reflected by the significant loss of market capitalization
    22   suffered by the Company.
    23         73.    Furthermore, as a direct and proximate result of the Individual
    24   Defendants’ actions, Banc has expended, and will continue to expend, significant
    25   sums of money. Such expenditures include, but are not limited to: (a) costs incurred
    26   from repeatedly investigating the allegations of wrongdoing; (b) costs incurred
    27   from responding to the ongoing SEC investigation, and (c) costs incurred
    28   defending and settling other related claims.
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     1           74.   Plaintiff seeks to remedy the foregoing harm through the recovery of
     2   monetary damages and implementation of corporate governance reforms.
     3            DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
     4           75.   Banc is named as a nominal defendant solely in a derivative capacity.
     5           76.   This is not a collusive action to confer jurisdiction on this Court that
     6   it would not otherwise have.
     7           77.   Plaintiff will adequately and fairly represent the interests of Banc in
     8   enforcing and prosecuting its rights and has hired experienced counsel.
     9           78.   Plaintiff was a shareholder of Banc at the time of the wrongdoing
    10   complained of, has continuously been a shareholder since that time, and is
    11   currently a Banc shareholder.
    12           79.   Plaintiff did not make a demand on the Board to institute this action
    13   because the delay in waiting for a response to the demand would cause irreparable
    14   harm to the corporation. As alleged herein, the Board is composed of entrenched
    15   directors who have exposed the Company to massive liability and otherwise
    16   prioritized their interests over the Company and the shareholders, and who have
    17   otherwise failed to ensure that the Company is in compliance with applicable law.
    18           80.   Plaintiff did not make a demand on the Board to institute this action
    19   because such a demand would be futile.
    20           81.   A majority of the directors are so personally and directly conflicted
    21   or committed to the issues in dispute that they cannot reasonably be expected to
    22   respond to a demand in good faith and within the ambit of the business judgment
    23   rule.
    24           82.   Banc is controlled by its Board, which currently has nine (9)
    25   members, all of whom are disqualified from considering a demand.
    26           83.   The Board consists of the Individual Defendants, and five (5) non-
    27   party directors: Lashley, Hill, Douglas Bowers (“Bowers”), Mary Curran
    28   (“Curran”), and W. Kirk Wycoff (“Wycoff”).
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     1         84.    The Individual Defendants: Demand upon the Individual Defendants
     2   (Benett, Karish, Sznewajs, and Schnel) is excused. Each served as a director on
     3   October 18, 2016, the date that Banc issued a press release stating that the Board
     4   had initiated an “independent” investigation of the Galanis allegations, and had
     5   received “regular reports” on the investigation. These statements, made in the
     6   name of the Board, were patently false, yet the Individual Defendants never
     7   corrected nor retracted them. In addition, each served as a director on October 19,
     8   2016, the date that Banc General Counsel Grosvenor reaffirmed these statements
     9   in a conference call with analysts. Again, these statements were patently false, yet
    10   the Individual Defendants never corrected nor retracted them. These fiduciary
    11   breaches led directly to the disastrous SEC investigation.
    12         85.    Furthermore, each served as a member of Banc’s Special Committee
    13   charged with investigating, among other things, the allegations in the October 18,
    14   2016 SeekingAlpha.com blog post. As members of the Special Committee, the
    15   Individual Defendants breached their fiduciary duties by, among other things,
    16   wrongfully entrenching themselves on the Board, and failing to act independently
    17   in the face of a known duties to act to protect the Company. These defendants
    18   would never conduct an independent investigation into Plaintiff’s allegations
    19   because to do so would expose their own wrongdoing.
    20         86.    The Individual Defendants’ actions constitute bad faith breaches of
    21   fiduciary duty, and they face a substantial likelihood of liability.
    22         87.    Bowers: Demand upon Bowers would be futile because he lacks
    23   independence. Banc’s 2017 Proxy Statement admits that Bowers is not
    24   independent. As the current CEO of the Company, Bowers does not satisfy NYSE
    25   director independence standards because he derives his principal income from
    26   Banc, including material salary and cash and equity retention awards.
    27
    28
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     1           88.   On April 24, 2017, Bowers entered an Employment Agreement with
     2   Banc.    Bowers employment began on May 8, 2017.           Bower’s employment
     3   agreement provides that he will be paid the following compensation:
     4                      $700,000 per year from May 8, 2017 to April 30, 2018;
     5                      $725,000 per year from May 1, 2018 to April 30, 2019;
     6                      $750,000 per year from May 1, 2019 to April 30, 2020; and
     7                      After April 30, 2020, at a rate to be determined by the
     8                       Compensation Committee.
     9           89.   Bowers is also eligible for a Target Bonus up to 100% of his base
    10   salary, with an Annual Bonus of between 0% and 150% of his base salary per year.
    11   The bonus amount will be determined by the Compensation Committee. Bower’s
    12   employment contract also provides for participation in the Company’s stock
    13   incentive program, among other employment consideration.
    14           90.   Bower’s employment contract provides that he “shall report directly
    15   to the Board” and can be terminated from his position with the Company for cause
    16   for failure to comply with directives from the Board.
    17           91.   Currently, Defendant Karish chairs the Compensation Committee,
    18   and Defendant Sznewajs is a member, along with non-party directors Hill and
    19   Wycoff. Bowers is thus unable to investigate a demand against Defendants Karish
    20   or Sznewajs in a disinterested and independent manner because he is beholden to
    21   them for his compensation.
    22           92.   When Bowers joined the Company’s Board in April 2017, Defendant
    23   Sznewajs stated: “We are pleased to welcome Doug to Banc of California. The
    24   Board conducted an extensive search and is confident Mr. Bowers has the right
    25   banking expertise and leadership skills to lead the Company. His industry
    26   experience, operational know-how and commitment to community values will be
    27   invaluable in continuing our mission.”
    28
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     1         93.    At the time he joined Banc, Bowers stated, “I look forward to leading
     2   this team of talented bankers and see great opportunities for the bank as it optimizes
     3   its focus on commercial banking and continues to grow scalable products and
     4   solutions for California's businesses and entrepreneurs. I am eager to begin work
     5   with our Board, senior management and employees as we plan and execute the
     6   path forward on behalf of all of our stakeholders.”
     7         94.    Under these circumstances, Bowers would never act contrary to the
     8   interests of Defendant Sznewajs and the other directors, excusing demand.
     9         95.    Lashley: Demand upon Lashley would be futile because of his alleged
    10   knowledge of the accounting manipulations alleged by Seabold. According to
    11   Seabold, there is a “recorded conversation” of a whistleblower describing
    12   accounting manipulations to Banc’s Head of Internal Audit and Lashley, yet the
    13   whistleblower’s allegations were dismissed. Lashley could never act to protect the
    14   Company’s interests in a disinterested fashion under these circumstances, and
    15   demand on him is therefore excused.
    16         96.    All Directors: By order dated September 6, 2017, U.S. District Judge
    17   Andrew Guilford upheld allegations of securities fraud against Banc in the pending
    18   federal securities class action. The securities class action alleges that Banc made
    19   false and misleading statements to the market regarding issues related to Galanis.
    20   Because of the overlapping subject matter of both cases, if the Company pressed
    21   forward with its claims against the defendants in this case, then the Company’s
    22   efforts could undercut or even compromise the defense of the securities class
    23   action. Demand is further excused because, although Banc has been and will
    24   continue to be exposed to significant losses due to the wrongdoing complained of
    25   herein, the Board has not filed any lawsuits against itself or others who were
    26   responsible for that wrongful conduct to attempt to recover for Banc any part of
    27   the damages suffered thereby.
    28
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     1                                CLAIM FOR RELIEF
     2          Against the Individual Defendants for Breach of Fiduciary Duty
     3         97.    Plaintiff incorporates by reference and realleges each and every
     4   allegation contained above as though fully set forth herein.
     5         98.    The Individual Defendants, by reason of their positions as directors
     6   of Banc and because of their ability to control the business and corporate affairs of
     7   Banc, owed to Banc obligations of due care and loyalty, and were and are required
     8   to use their utmost ability to control and manage Banc in a fair, just, honest, and
     9   equitable manner.
    10         99.    The Individual Defendants acted in bad faith and in breach of their
    11   duty of loyalty, including by failing to act in the face of a known duty to act,
    12   demonstrating a conscious disregard for those duties.
    13         100. As a direct and proximate result of the breaches of fiduciary
    14   obligations by the Individual Defendants, Banc has sustained significant damages,
    15   as alleged herein. As a result of the misconduct alleged herein, these defendants
    16   are liable to the Company.
    17         101. The Individual Defendants’ misconduct – through both their actions
    18   and conscious inaction – cannot be exculpated under Maryland or other applicable
    19   law as it implicates bad faith and a breach of the duty of loyalty.
    20         102. Plaintiff, on behalf of Banc, has no adequate remedy at law.
    21                                PRAYER FOR RELIEF
    22         WHEREFORE, Plaintiff, on behalf of Banc, demands judgment as follows:
    23         A.     Against all Individual Defendants and in favor of the Company for
    24                the amount of damages sustained by the Company as a result of the
    25                Individual Defendants’ breaches of fiduciary duties;
    26         B.     Directing Banc to take all necessary actions to reform and improve its
    27                corporate governance and internal procedures to comply with
    28                applicable laws and to protect Banc and its shareholders from a repeat
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     1               of the damaging events described herein, including, but not limited
     2               to, adopting corporate governance policies to: (a) strengthen the
     3               Company’s controls over financial reporting; (b) strengthen the
     4               Board’s supervision of operations and develop and implement
     5               procedures for greater shareholder input into the policies and
     6               guidelines of the Board; (c) strengthen Banc oversight of its
     7               disclosure procedures; (d) prevent self-dealing and related party
     8               transactions and Board entrenchment;
     9         C.    Determining and awarding Banc the damages it sustained as a result
    10               of the violations set forth above and restitution from the Individual
    11               Defendants, and each of them, and ordering disgorgement of all
    12               profits, benefits, and other compensation obtained by the Individual
    13               Defendants;
    14         D.    Granting extraordinary equitable and/or injunctive relief as permitted
    15               by law, equity, and state statutory provisions sued hereunder;
    16         E.    Determining and awarding Banc the damages sustained by it as a
    17               result of the Individual Defendants’ breaches of fiduciary duties, as
    18               set forth above, from each of the Individual Defendants, jointly and
    19               severally, together with interest thereon; and
    20         F.    Awarding Plaintiff the costs and disbursements of this action,
    21               including reasonable fees and costs to Plaintiff’s attorneys,
    22               accountants, and experts.
    23                                   JURY DEMAND
    24         Plaintiff demands a trial by jury on all issues so triable.
    25
    26
    27
    28
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     1
     2   Dated: September 26, 2017     By: /s/ Willem F. Jonckheer
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     3
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                                          VERIFICATION



        I, Kristopher Gordon, hereby verify that I have authorized the filing of the attached

 Verified Shareholder Derivative Complaint, that I have reviewed the Verified Shareholder

 Derivative Complaint, and that the facts therein are true and correct to the best of my knowledge,

 information and belief. I declare under penalty of perjury that the foregoing is true and correct.




                                               _______________________________
                                                     Kristopher Gordon




 Executed on this 26th day of September, 2017 in Atlanta, Georgia.
